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IN THE UNITED sTATEs DISTRICT coURT’F' "»"3"` " "
FoR THE WESTERN DlsrRlcr oF TENNESSEE w 5 ph 2 05
WESTERN DlvlsIoN 533

 

UNITED STATES OF AMERICA,

Plaintiff,

/

v. No. 05-20110-B/P
05-20111-B/V
05-20112-B/P

RAFAT JAMAL MAWLAWI, 05-20113-B/An
05-20130-B/V

Defendant.

 

ORDER OF REFERENCE

 

Before the court are motions of the Defendant, Rafat Jamal Mawlawi, for Consideration
of Bond Due to Medical Conditions filed in the above five cases presently pending before the
court. Because only one hearing needs to be conducted in regard to all of Defendant’s motions,
these motions are referred to the Magistrate Judge Tu Pham for determination Any objections
to the magistrate judge’s order shall be made within ten (lO) days after service of the order,
setting forth particularly those portions of the order objected to and the reasons for the
objections

;t\
IT IS SO ORDERED thisd __day of ]uly, 2005.

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J. DANIEL BREEN
D STATES DISTRICT IUDGE

 

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UNITED `sTEATs DSTIRIC COURT - WESTERN D'S'TRCT 0 TESSEE

   
 

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This notice confirms a copy ofthe document docketed as number 103 in
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July 5, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

